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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      Case No: 1:17-cv-60426-UU

   ALEKSEJ GUBAREV, et al.,

          Plaintiffs,
   v.

   BUZZFEED, INC., et al.,

         Defendants.
   _____________________________________/


                REPLY DECLARATION OF NATHAN SIEGEL IN SUPPORT OF
               DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
                ON THE ISSUE OF PLAINTIFFS’ STATUS AS PUBLIC FIGURES


          I, Nathan Siegel, pursuant to 29 U.S.C. § 1746, hereby declare as follows:
          1.       I am a partner at the law firm of Davis Wright Tremaine LLP, counsel for
   Plaintiffs BuzzFeed, Inc. and Ben Smith in the above-captioned proceeding.
          2.       I make this declaration in order to annex exhibits relied upon in Defendants’
   Reply Memorandum of Law in further support of their Motion for Partial Summary Judgment.
          3.       Annexed hereto as Exhibit 1 are true and correct copies of four photos of Plaintiff
   Gubarev at the 2007 AWMOpen conference, printed from the Internet at the following URLs:
               x   http://fubarwebmasters.com/picture.php?id=281939&page=&gid=542
               x   http://fubarwebmasters.com/picture.php?id=281965&page=&gid=542
               x   http://fubarwebmasters.com/picture.php?id=281091&page=&gid=547
               x   http://fubarwebmasters.com/picture.php?id=281096&page=&gid=547

          I declare under penalty of perjury that the foregoing is true and correct.

          Executed on October 12, 2018 in Washington, District of Columbia.


                                                        /s/ Nathan Siegel
                                                        Nathan Siegel
